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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION




SECURITIES AND EXCHANGE
COMMISSION,

                             Plaintiff,

                        v.                           Case No.

ARTHUR LAMAR ADAMS AND                               3:18-cv-252-CWR-FKB
MADISON TIMBER PROPERTIES, LLC,

                             Defendants,




 SECOND UNOPPOSED MOTION FOR ORDER IMPOSING INTERIM
  RELIEF PENDING APPOINTMENT OF A TEMPORARY RECEIVER

      Plaintiff Securities and Exchange Commission (“Commission”) files this

Second Unopposed Motion for entry of an Supplemental Order providing interim

relief to further preserve the potential receivership estate in this matter pending the

Court’s appointment of a temporary receiver. The proposed Supplemental Order

specifically addresses concerns raised by David O’Donnell, Esq., of Clayton

O’Donnell, PLLC, in Oxford, MS. Mr. O’Donnell is counsel for KAPA Breeze,

LLC, a Mississippi limited liability company in which Defendant Arthur Lamar

Adams owns an interest and is the managing member, and his concerns regard the
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need for that entity to temporarily appoint a managing member and make payments

with respect to a real estate development necessary to prevent impairment of that

asset.

         It is important for the Court to note that the proposed Supplemental Order

would allow KAPA Breeze to “to make deposits and withdrawals from bank

accounts which were frozen by previous order of this court, including the KAPA

Breeze, LLC account maintained at * * * under account number ending in * * *, so

as to continue to pay expenses and receive income as they come due in the ordinary

course of business (subject to audit and challenge as specified below by the

Temporary Receiver).”1 Mr. O’Donnell requested that this relief be included in order

to pay construction invoices relating to the real estate development that are due next

week. Mr. O’Donnell represents that without such payment, workers will

immediately leave the project, thereby causing harm to its value.

         Counsel for the Commission has consulted counsel for the Defendants and

counsel for the Secretary of the State of Mississippi, and has been advised that each

consents to the entry of the proposed Supplemental Order, which the Commission is

emailing to the Court’s chambers.




1
        Based on conversations with Mr. O’Donnell, counsel for the SEC understands that there is approximately
$90,000 frozen in the KAPA Breeze account, and that all of that amount (plus additional funds contributed by the
other LLC members) will be needed to meet KAPA Breeze’s construction costs.
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Dated this 19th day of June, 2018.

                               Respectfully submitted,


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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF MISSISSIPPI
                        NORTHERN DIVISION




SECURITIES AND EXCHANGE
COMMISSION,

                            Plaintiff,

                       v.                           Case No. 3:18-CV-252-
                                                    CWR -FKB

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

                            Defendants,



                            CERTIFICATE OF SERVICE

      I hereby certify that on this day, I filed the Plaintiff’s Second Unopposed

Motion for Order Imposing Interim Relief Pending Appointment of a Temporary

Receiver via the Court’s ECF system, which will provide copies to all counsel of

record. I also served a copy of same to David O’Donnell, Esq., counsel for KAPA

Breeze LLC, via email.

      Dated this 19th day of June, 2018.

                                          Respectfully submitted,

                                          s/ W. Shawn Murnahan
                                          W. Shawn Murnahan
